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March 27, 2025


VIA ECF
Hon. Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:     United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       Ms. Javice respectfully moves for a mistrial and for severance following her co-defendant,
Olivier Amar’s antagonistic closing argument. Mr. Amar’s improper, incessant, and zealous
arguments about Ms. Javice’s alleged guilt have prevented the jury from making a reliable
judgment about her guilt or innocence. See Zafiro v. United States, 506 U.S. 534, 539 (1993).

        In closing argument, counsel for Mr. Amar painstakingly reiterated the government’s
evidence against Mr. Javice― walking through every piece of evidence against Ms. Javice for a
second time, but removing Mr. Amar from the narrative. This resulted in the jury hearing
prosecution’s case against Ms. Javice twice from two different prosecutors. Between the
government and Mr. Amar, the jury heard over 270 minutes of argument about the alleged fraud
perpetrated by Ms. Javice, and Ms. Javice only received 125 minutes to defend herself. As a result
of this antagonism, Ms. Javice has been “substantially prejudiced by having to wage a defense on
two fronts, in a single trial, before the jury” not only in closing argument, but throughout her six-
week trial. See United States v. Shkreli, 260 F. Supp. 3d 247, 257 (E.D.N.Y Apr. 17, 2017).

        As Ms. Javice repeatedly warned the Court, Mr. Amar’s defense presented a situation that
is an order of magnitude more severe than routine accusations and blame-shifting. See United
States v. Serpoosh, 919 F.2d 835, 838 (2d Cir. 1990); United States v. Nordlicht, No. 16 Cr. 640
(BMC), 2018 WL 1796542, at *4 (E.D.N.Y. Apr. 16, 2018). For example, Mr. Amar argued not
only that Ms. Javice took accurate information from Mr. Amar and altered it, but that she allegedly
refused to correct the inaccurate data. 3/26/2024 Tr. 3684:8-12 (“He is not involved in the
correcting of [the data], he just pointed it out. But I want you to read this because you are going

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to see a lot of pushback by Ms. Javice, she did not want to do it. She was worried it would blow
up the deal.”). Counsel for Mr. Amar built a narrative arguing that Ms. Javice was the mastermind
of an alleged fraud of which Mr. Amar had no knowledge. 3/26/2024 Tr. 3703:15-18. (“She has
everybody siloed . . . . Everyone is doing their own thing and the only one with context is Ms.
Javice.”).

        Mr. Amar’s antagonistic defense has continuously prevented Ms. Javice from receiving her
constitutional right to a fair trial. At this late stage, there is only one remedy that can cure this
prejudice. Ms. Javice again moves for a mistrial and for severance.


                                                     Respectfully submitted,

                                                     /s/ Sara C. Clark
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cc:    All Counsel of Record




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